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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                      CR 19-50-GF-BMM

                         Plaintiff,
                                                ORDER
            vs.

 PETER ISAAC SMITH, III,

                         Defendant.



       Upon the motion of the United States and at the express request of the

defendant, IT IS ORDERED that for all further proceedings in this case, the

defendant’s name shall be changed by interlineation to PETER ISAAC SMITH,

III.

       IT IS FURTHER ORDERED that the Clerk of Court amend the indictment

to reflect the correct name of the defendant.

       DATED this 17th day of October, 2019.




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